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                       UNITED STATES COURT OF APPEALS                       FILED
                               FOR THE NINTH CIRCUIT                         FEB 28 2023
                                                                         MOLLY C. DWYER, CLERK
                                                                          U.S. COURT OF APPEALS
   STEPHEN DREHER; MELINDA DREHER, No.                   22-55561

                   Plaintiffs-Appellants,          D.C. No.
                                                   2:18-cv-07827-MWF-FFM
    v.                                             Central District of California,
                                                   Los Angeles
   PNC BANK, N.A., a Pennsylvania
   Corporation, successor by merger to/with        ORDER
   National City Bank; AMERICAN
   SERVICING AND RECOVERY GROUP
   LLC, a Texas limited liability company,

                   Defendants-Appellees,

   and

   DREAMBUILDER INVESTMENTS, LLC,
   A New York Limited Liability Company;
   et al.,

                   Defendants.

         Pursuant to the stipulation of the parties (Docket Entry No. 19), this appeal

   is voluntarily dismissed. Fed. R. App. P. 42(b). The parties shall bear their own

   costs and fees on appeal.

         A copy of this order shall serve as and for the mandate of this court.

                                                FOR THE COURT:


                                                By: Jonathan Westen
                                                Circuit Mediator
